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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JUAN IGARTUA,
                               Plaintiff,

                        v.                                   24-CV-6381 (DEH) (OTW)

 STOOPS NYC IP LLC,                                                    ORDER
                               Defendant.



       DALE E. HO, United States District Judge:

        On February 19, 2025, Plaintiff filed a motion for a default judgment under Federal Rule
of Civil Procedure 55(b)(2) and Local Civil Rule 55.2(b) against Defendant Stoops NYC IP
LLC. See ECF No. 17.

      It is hereby ORDERED that Defendants shall file any opposition to the motion for default
judgment by March 7, 2025.

       It is further ORDERED that Defendants appear and show cause before this Court on
March 11, 2025, at 11:00 A.M. EST, why an order should not be issued granting a default
judgment against Defendants. Unless and until the Court orders otherwise, the conference will
be held remotely by telephone in accordance with Paragraph 3.B of the Court’s Individual Rules
and Practices in Civil Cases. The parties should join the conference by calling the Court’s
dedicated conference line at (646) 453-4442 and using access code 490 612 72, followed by the
pound (#) key.

       It is further ORDERED that Plaintiffs serve Defendants via overnight courier with (1) a
copy of the motion for default judgment and all supporting papers; and (2) a copy of this Order
by within three business day of the filing of each document. In each case, within two
business days of service, Plaintiffs must file proof of such service on the docket.

       SO ORDERED.

Dated: February 20, 2025
       New York, New York                           _______________________________
                                                          DALE E. HO
                                                         United States District Judge
